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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                             CHARLESTON DIVISION


B. P. J., et al.,
                          Plaintiffs,

v.                                            CIVIL ACTION NO. 2:21-cv-00316


WEST VIRGINIA STATE BOARD OF EDUCATION, et al.,

                          Defendants.



                                        ORDER

       On May 8, 2024, the Court of Appeals for the Fourth Circuit issued its formal

mandate, [ECF No. 540], pursuant to Rule 41(a) of the Federal Rules of Appellate

Procedure, directing that its judgment dated April 16, 2024, [ECF No. 537], take

effect as of May 8, 2024. In that judgment, the Fourth Circuit concluded that this

court erred in granting summary judgment to defendants on both B.P.J.’s equal

protection and Title IX claims and denying B.P.J.’s own motion for summary

judgment as to the Title IX claim. [ECF No. 537, at 32]. Therefore, the Fourth Circuit

vacated my order as to the equal protection claim and reversed my order as to the

Title IX claim, [ECF No. 512], remanding the case with instructions to enter summary

judgment for B.P.J. as to her Title IX claim and conduct “remedial proceedings,” [ECF

No. 537, at 37].
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       In her First Amended Complaint, B.P.J. seeks declaratory and injunctive

relief, as well as nominal damages, on both her Title IX and equal protection claims.

[ECF No. 64, at 23–24]. She repeats this request for relief in her summary judgment

motion. [ECF No. 289, at 1–2]. Because the Fourth Circuit judgment contains a

lengthy reasoning for its holdings as to both claims, see [ECF No. 537], I need not

reiterate that reasoning here. I FIND that, pursuant to the Fourth Circuit’s

judgment, summary judgment is warranted for B.P.J. as to her Title IX claim, and

she is entitled to the relief requested for that claim. See Grimm v. Gloucester Cty.

Sch. Bd., 972 F.3d 586, 619 (4th Cir. 2020) (affirming a district court award of nominal

damages for the defendant school’s violation of Title IX as to the transgender student

plaintiff).

       Accordingly, the court ORDERS that the January 5, 2023, Order granting

summary judgment to Defendants on both of B.P.J.’s claims, [ECF No. 512], be

VACATED. The court further ORDER that B.P.J.’s motion for summary judgment,

[ECF No. 289], is GRANTED only as to B.P.J’s Title IX claim, and therefore:

       (1) DECLARES that the provisions of and enforcement by Defendants of H.B.

              3293 as applied to B.P.J. violate B.P.J.’s rights under Title IX;

       (2) PERMANENTLY ENJOINS Defendants, their officials, agents, employees,

              assigns, and all persons acting in concert or participating with them from

              enforcing against B.P.J. either H.B. 3293 or any other law, custom, or policy

              that precludes B.P.J.’s participation on girls’ school sports teams in West

              Virginia in violation of Title IX; and



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      (3) AWARDS B.P.J. the amount of $1.00 as nominal damages with respect to

         her Title IX claim, payable by the West Virginia Secondary School

         Activities Commission (“WVSSAC”).

      Finally, the court ORDERS that the motions for summary judgment filed by

the WVSSAC, [ECF No. 276], the State of West Virginia, [ECF No. 285], the Harrison

County defendants, [ECF No. 278], the State Board defendants, [ECF No. 283], and

Intervenor Lainey Armistead, [ECF No. 286], are DENIED.

      Also pursuant to the Fourth Circuit’s instructions, B.P.J.’s equal protection

claim remains pending. A determination of B.P.J.’s costs, expenses, and reasonable

attorneys’ fees for her Title IX claim will be HELD IN ABEYANCE pending final

adjudication of B.P.J.’s remaining claim.

      The court DIRECTS the Clerk to send a copy of this Order to counsel of record

and any unrepresented party.



                                       ENTER:       May 16, 2024




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